

People v Thomas (2021 NY Slip Op 00240)





People v Thomas


2021 NY Slip Op 00240


Decided on January 14, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 14, 2021

Before: Manzanet-Daniels, J.P., Gische, Kapnick, Singh, Mendez, JJ. 


Ind No. 2343/13 Appeal No. 12875 Case No. 2020-00801 

[*1]The People of the State of New York, Respondent,
vJames Thomas, Defendant-Appellant.


Robert S. Dean, Center for Appellate Litigation, New York (Alexandra L. Mitter of counsel), for appellant.
Darcel D. Clark, District Attorney, Bronx (Robert Myers of counsel), for respondent.



Judgment of resentence, Supreme Court, Bronx County (Judith Lieb, J.), rendered October 29, 2019, resentencing defendant to an aggregate term of 17 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the prison components of the sentences on the convictions of robbery in the first and second degrees and criminal possession of a weapon in the second degree to 12 years each, resulting in a new aggregate term of 12 years, with 5 years' postrelease supervision, and otherwise affirmed.
We find the sentence excessive to the extent indicated. 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 14, 2021








